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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 CONDATIS LLC,
   Plaintiff,                                           Case No. 2:10-cv-00232-TJW

 v.
                                                        JURY TRIAL DEMANDED
 ARINC INC., et al.,
   Defendants.

                       ORDER OF DISMISSAL WITH PREJUDICE

CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With Prejudice

of all claims asserted between plaintiff, Condatis LLC and Defendant Moritz Aerospace, Inc., in

this case, and the Court being of the opinion that said motion should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

plaintiff, Condatis LLC and Defendant Moritz Aerospace, Inc., are hereby dismissed with

prejudice, subject to the terms of that certain agreement entitled “MUTUAL RELEASE AND

SETTLEMENT AGREEMENT” and dated September 20, 2011.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.
       SIGNED this 29th day of September, 2011.



                                             __________________________________________
                                             T. JOHN WARD
                                             UNITED STATES DISTRICT JUDGE
